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United States District Court

WESTERN DISTRICT OF TENNESSEE
Eastern Division

JUDGMENT IN A CIVIL CASE

 

LILLIE LEM]RE.,
v.

REITTER & SCHEFENACKER, CASE NU|V|BER: 1203-1304-T/An

Decision by Court. This action came to consideration before the Court. The issues
have been considered and a decision has been rendered.

iT |S ORDERED AND ADJUDGED that in compliance with the order entered in
the above-styled matter on 8/16/2005, the Defendant’s Motion for Summary Judgment
is GRANTED in its entirety and this case is hereby D|SMISSED.

APPROVED:

JA]{JES D. ToDD
UNITED STATES DISTRICT JUDGE

THOMAS M. GOULD

 

 

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with Rule 58 and/or 79(a)FRCP on s g l l l )[ §§

 

F TNNESSEE

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This notice confirms a copy of the document docketed as number 53 in
case 1:03-CV-01304 Was distributed by faX, mail, or direct printing on
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James 1\/1. Simpson

ALLEN SUMMERS SIMPSON LILLIE & GRESHAl\/l7 PLLC
80 Monroe Ave.

Ste. 650

1\/1emphis7 TN 38103--246

ShaWn R. Lillie

ALLEN SUMMERS SIMPSON LILLIE & GRESHAl\/l7 PLLC
80 Monroe Ave.

Ste. 650

1\/1emphis7 TN 38103--246

Heather Webb Fletcher

ALLEN SUMMERS SIMPSON LILLIE & GRESHAl\/l7 PLLC
80 Monroe Ave.

Ste. 650

1\/1emphis7 TN 38103--246

Kaye G. Burson
RUTLEDGE & RUTLEDGE
1053 W. ReX Road

Ste. 1 0 1

1\/1emphis7 TN 38119

James 1\/1. Simpson

ALLEN SUMMERS SIMPSON LILLIE & GRESHAl\/l7 PLLC
80 Monroe Ave.

Ste. 650

1\/1emphis7 TN 38103--246

ShaWn R. Lillie

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Kaye G. Burson
RUTLEDGE & RUTLEDGE
1053 W. ReX Road

Ste. 1 0 1

1\/1emphis7 TN 38119

Heather Webb Fletcher

ALLEN SUMMERS SIMPSON LILLIE & GRESHAl\/l7 PLLC
80 Monroe Ave.

Ste. 650

1\/1emphis7 TN 38103--246

Honorable J ames Todd
US DISTRICT COURT

